          Case 3:19-cv-00344-RS Document 1 Filed 01/18/19 Page 1 of 11




 1 John A. Conkle (SB# 117849)
     j.conkle@conklelaw.com
 2 Amanda R. Washton (SB#227541)
    a.washton@conklelaw.com
 3 Desiree J. Ho (SB# 313250)
     d.ho@conklelaw.com
 4 CONKLE, KREMER & ENGEL
   Professional Law Corporation
 5 3130 Wilshire Boulevard, Suite 500
   Santa Monica, California 90403-2351
 6 Phone: (310) 998-9100 • Fax: (310) 998-9109
 7 Attorneys for Defendant Flying Food
   Group, LLC
 8
 9                            UNITED STATES DISTRICT COURT
10                         NORTHERN DISTRICT OF CALIFORNIA
11
12 ELIAS YAMIDO, MARK SIBAYAN                       Case No. 3:19-cv-344
   and THELMA YAMIDO, on behalf of
13 themselves, others similarly                     DEFENDANT FLYING FOOD
   situated and the general public,                 GROUP, LLC’S NOTICE OF
14                                                  REMOVAL
                Plaintiff,
15                                                  San Mateo Superior Court,
          v.                                        Case No. 18CIV06696
16
   FLYING FOOD GROUP, LLC and                       Action Filed:        December 14, 2018
17 DOES 1-10, inclusive,                            Trial Date:          None
18                   Defendant.
19
20
21
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     1020.031\9990                                                         Case No. 3:19-cv-344
                       DEFENDANT FLYING FOOD GROUP, LLC’S NOTICE OF REMOVAL
          Case 3:19-cv-00344-RS Document 1 Filed 01/18/19 Page 2 of 11




 1            PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. §§ 1332, 1441, and 1446,
 2 Defendant Flying Food Group, LLC (“Defendant” or “FFG”), by and through its
 3 counsel, remove to this Court the action entitled Elias Yamido, Mark Sibayan, and
 4 Thelma Yamido v. Flying Food Group, LLC (“Action”), Case No. 18CIV06696, which
 5 was originally filed in the Superior Court of the State of California for the County of
 6 San Mateo.
 7
 8 I.         INTRODUCTION
 9            Removal is proper because this putative class action meets the jurisdictional
10 requirements under the Class Action Fairness Act of 2005 (“CAFA”). The Action
11 involves an amount in controversy exceeding $5,000,000, asserts a putative class
12 consisting of more than 100 members, and is between citizens of different states.
13
14            Defendant’s filing of this Notice of Removal is in no way a concession or an
15 assessment of its liability in this Action. Lewis v. Verizon Commc’ns, Inc., 627 F. 3d
16 395, 400 (9th Cir. 2010). Defendant disputes its liability as to all claims in any amount
17 raised by Plaintiffs Elias Yamido, Mark Sibayan, and Thelma Yamido (collectively
18 “Plaintiffs”) and/or any putative class member. Defendant further disputes that
19 Plaintiffs and/or any member of the putative class suffered any injury or incurred
20 damages as a result of Defendant’s acts. Defendant further disputes that Plaintiffs, any
21 putative class member, or their attorneys are entitled to any relief, including but not
22 limited to compensatory or consequential damages, civil penalties, punitive damages,
23 attorney’s fees, prejudgment interest, or injunctive relief. Defendant hereby reserves
24 the right to contest the legal sufficiency of the claims raised in this Action, and the right
25 to raise any other defenses.
26
27
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     1020.031\9990
                                                -2-                       Case No. 3:19-cv-344
                      DEFENDANT FLYING FOOD GROUP, LLC’S NOTICE OF REMOVAL
          Case 3:19-cv-00344-RS Document 1 Filed 01/18/19 Page 3 of 11




 1 II.        THE FILING OF THIS NOTICE OF REMOVAL IS TIMELY
 2            On December 14, 2018, Plaintiffs Elias Yamido, Mark Sibayan, and Thelma
 3 Yamido filed a Complaint on behalf of a putative class alleging wage and hour
 4 violations in the Superior Court of the State of California for the County of San Mateo
 5 as Elias Yamido, Mark Sibayan, and Thelma Yamido v. Flying Food Group, LLC, Case
 6 No. 18CIV06696. (Declaration of John A. Conkle In Support of Defendant Flying
 7 Food Group, LLC’s Notice of Removal (“Conkle Decl.”) at ¶ 2.) Defendant was served
 8 with the Summons and Complaint on December 20, 2018. (Id.)
 9
10            Under 28 U.S.C. § 1446(b)(1), Defendant must remove the Action within thirty
11 days of service, or on or before January 21, 2019. The filing of this Notice of Removal
12 is therefore timely. Under 28 U.S.C. § 1446(a), Defendant need only provide a “short
13 and plain statement of the grounds for removal, together with a copy of all process,
14 pleadings, and orders served upon such defendant or defendants in such action.” In
15 compliance with 28 U.S.C. § 1446(a), Defendant attaches a copy of all process,
16 pleadings, and orders served upon it as Exhibit A, and sets forth the grounds for
17 removal below. (Id.) While Defendant was not served with additional documents that
18 have been filed in the Superior Court of the State of California in the County of San
19 Mateo, Defendant attaches a copy of these documents as Exhibit B. (Id. at ¶ 3.)
20
21            Following the filing of this Notice of Removal, Defendant will also promptly
22 serve a copy of this Notice of Removal to Plaintiffs’ counsel and file a copy of the
23 Notice with the Clerk of the Superior Court of the State of California for the County of
24 San Mateo. 28 U.S.C. § 1446(d). (Id. at ¶ 4.)
25
26 III.       CLASS ACTION ALLEGATIONS
27            Plaintiffs bring this action on behalf of themselves and a putative class of
28 similarly situated employees, defined as:
     1020.031\9990
                                                -3-                       Case No. 3:19-cv-344
                      DEFENDANT FLYING FOOD GROUP, LLC’S NOTICE OF REMOVAL
          Case 3:19-cv-00344-RS Document 1 Filed 01/18/19 Page 4 of 11




 1            All current and former hourly or non-exempt employees of
              DEFENDANTS who worked in the State of California at any time from
 2            four (4) years preceding the date of filing of this action through the entry
              of final judgment in this action (‘Class Period”).
 3
 4 (Ex. A, Complaint at 3:20-28.) The Complaint further specifies that “PLAINTIFFS and
 5 putative class members are current or former employees assigned to different
 6 departments at DEFENDANTS’ location at 810 Malcolm Road, Burlingame, CA
 7 94014 (‘Malcolm Rd. location’).” (Ex. A, Complaint at ¶ 22.) Defendant refers to this
 8 facility as the “SFO Facility.”
 9
10            The Complaint alleges that Defendant uses a rounding policy that results in
11 underpayment of wages to the putative class, that its workplace practices do not allow
12 the putative class to take timely meal periods and rest breaks, that it does not provide
13 putative class members with seating in the food production area when they are
14 completing their “hectic” work assignments, and that putative class members
15 terminated from employment do not receive all wages owed at termination. (Ex. A,
16 Complaint at ¶¶ 28-35.) The Complaint brings ten causes of action for: 1) unpaid
17 wages; 2) unpaid overtime compensation; 3) failure to pay compensation for meal
18 period violations; 4) failure to pay compensation for rest period violations; 5) wage
19 statement violations; 6) failure to provide sick days; 7) failure to reasonably permit use
20 of seats; 8) waiting time penalties; 9) civil penalties pursuant to Private Attorneys
21 General Act; and 10) unfair competition in violation of California Business and
22 Professions Code §§ 17200 et seq. (Ex. A, Complaint at ¶¶ 36-99.)
23
24            Plaintiffs seek relief in the form of an order certifying the proposed class,
25 compensatory and consequential damages, award of unpaid wages and overtime
26 compensation, meal period and rest break premiums, an order that Defendant shows
27 cause as to why it should not be enjoined, unpaid sick days, civil penalties, statutory
28 damages and penalties, restitution, an injunction against unfair business practices,
     1020.031\9990
                                                  -4-                      Case No. 3:19-cv-344
                       DEFENDANT FLYING FOOD GROUP, LLC’S NOTICE OF REMOVAL
          Case 3:19-cv-00344-RS Document 1 Filed 01/18/19 Page 5 of 11




 1 prejudgment interest, and reasonable attorneys’ fees and costs. (Ex. A, Complaint,
 2 Prayer for Relief.)
 3
 4 IV.        THIS CLASS ACTION SATISFIES THE JURISDICTIONAL
              PREREQUISITES FOR REMOVAL UNDER CAFA
 5
              Defendant may remove this Action under 28 U.S.C. § 1446(a) by providing a
 6
     “short and plain statement of the grounds for removal….” Defendant’s removal
 7
     allegations should be construed liberally. Dart Cherokee Basin Operating Co., LLC v.
 8
     Owens, 135 S. Ct. 547, 554 (2014).
 9
10
              Under CAFA, a district court has original jurisdiction over a civil action “in
11
     which the matter in controversy exceeds the sum or value of $5,000,000, exclusive of
12
     interest and costs, and is a class action in which…any member of a class of plaintiffs is
13
     a citizen of a State different from any defendant[,]” and is a class action with at least
14
     100 putative class members. 28 U.S.C. §§ 1332(d)(2), (5)(B). This Action meets each
15
     of these prerequisites.
16
17
              A.     THERE ARE OVER 100 MEMBERS IN THE PUTATIVE CLASS
18
              A class action may be removed under CAFA if the number of members of all
19
     proposed plaintiff classes in the aggregate is more than 100.             28 U.S.C. §
20
     1332(d)(5)(B). Plaintiffs allege that “there are over 500 employees working for
21
     DEFENDANTS, more than half in California.” (Ex. A, Complaint at ¶ 12.) Because
22
     the putative class consists of more than 100 members, this Action meets the
23
     jurisdictional prerequisite under 28 U.S.C. § 1332(d)(5)(B).
24
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     1020.031\9990
                                                -5-                       Case No. 3:19-cv-344
                      DEFENDANT FLYING FOOD GROUP, LLC’S NOTICE OF REMOVAL
          Case 3:19-cv-00344-RS Document 1 Filed 01/18/19 Page 6 of 11




 1            B.     THE AMOUNT IN CONTROVERSY EXCEEDS $5,000,000
 2            When a class action is removed under CAFA, the district court can exercise
 3 original jurisdiction over the action when “the matter in controversy exceeds the sum or
 4 value of $5,000,000, exclusive of interest and costs[.]” 28 U.S.C. § 1332(d)(2).
 5
 6            Although Defendant disputes any liability as to Plaintiffs’ claims, and disputes
 7 that Plaintiffs and/or the putative class suffered any injury or incurred damages, the
 8 amount in controversy raised by the claims asserted in the class action Complaint, in
 9 the aggregate, exceed $5,000,000, exclusive of interest and costs. See Lewis v. Verizon
10 Commc’ns, Inc., 627 F. 3d 395, 400 (9th Cir. 2010) (“The amount in controversy is
11 simply an estimate of the total amount in dispute, not a prospective assessment of
12 defendant’s liability.”)
13
14            To meet this jurisdictional requirement, under 28 U.S.C. § 1446(a), “a
15 defendant’s notice of removal need include only a plausible allegation that the amount
16 in controversy exceeds the jurisdictional threshold.” Dart Cherokee Basin Operating
17 Co., LLC, 135 S. Ct. at 554 (“By borrowing Rule 8(a)’s ‘short and plain statement’
18 standard, corroborative history indicates, Congress intended to clarify that courts
19 should ‘apply the same liberal rules [to removal allegations as] to other matters of
20 pleading. … The amount-in-controversy allegation of a plaintiff invoking federal-court
21 jurisdiction is accepted if made in good faith.’” (citation omitted)).
22
23            “In measuring the amount in controversy, a court must assume that the
24 allegations of the complaint are true and that a jury will return a verdict for the plaintiff
25 on all claims made in the complaint. … The ultimate inquiry is what amount is put ‘in
26 controversy’ by the plaintiff’s complaint, not what a defendant will actually owe.”
27 Korn v. Polo Ralph Lauren Corp., 536 F. Supp. 2d 1199, 1205 (E.D. Cal. 2008) (citing
28 Kenneth Rothschild Trust v. Morgan Stanley Dean Witter, 199 F. Supp. 2d 993, 1001
     1020.031\9990
                                                 -6-                      Case No. 3:19-cv-344
                      DEFENDANT FLYING FOOD GROUP, LLC’S NOTICE OF REMOVAL
          Case 3:19-cv-00344-RS Document 1 Filed 01/18/19 Page 7 of 11




 1 (C.D. Cal. 2002), Rippee v. Boston Market Corp., 408 F. Supp. 2d 982, 986 (S.D. Cal.
 2 2005), and Scherer v. Equitable Life Assurance Society of the United States, 347 F. 3d
 3 394, 399 (2d Cir. 2003)). See also Campbell v. Vitran Exp., Inc., 471 F. App’x 646,
 4 648 (9th Cir. 2012) (unpublished) (quoting Kenneth Rothschild Trust v. Morgan Stanley
 5 Dean Witter, 199 F. Supp. 2d 993, 1001 (C.D. Cal.2002)); Henry v. Cent. Freight
 6 Lines, Inc., 692 F. App’x 806, 807 (9th Cir. 2017) (unpublished).
 7
 8            To meet the amount in controversy threshold when a complaint fails to specify
 9 the amount of damages sought, a defendant need only show that “it is more likely than
10 not that the amount in controversy satisfies the federal diversity jurisdictional amount
11 requirement.” Abrego Abrego v. The Dow Chem. Co., 443 F. 3d 676, 683 (9th Cir.
12 2006) (quoting Sanchez v. Monumental Life Ins. Co., 102 F. 3d 398, 404 (9th Cir.
13 1996)) (quotations omitted). Here, Plaintiffs seek relief in the form of damages,
14 attorney’s fees, injunctive relief, and more, but do not set forth a numerical sum of
15 money sought.
16
17            In the Complaint, Plaintiffs bring ten causes of action. Plaintiffs contend that the
18 putative class is entitled to waiting time penalties under California Labor Code § 203.
19 While Defendant denies the factual allegations pertaining to Plaintiffs’ waiting time
20 penalties claim, for purposes of this Notice of Removal, Defendant estimates that the
21 average hourly rate for the putative class at the SFO Facility was approximately $15.97
22 in 2016, $17.28 in 2017, and $18.59 in 2018. (Declaration of Laura Bland in Support
23 of Defendant Flying Food Group, LLC’s Notice of Removal (“Bland Decl.”) at ¶ 5.)
24 Defendant estimates that approximately 155 employees were terminated from the SFO
25 Facility in 2016, 130 employees were terminated from the SFO Facility in 2017, and
26 159 employees were terminated from the SFO Facility in 2018. (Id.) Assuming
27 Plaintiffs’ allegations are true for purposes of removal, and that the maximum statutory
28 penalty of 30 days applies, Defendant estimates the amount in controversy for this
     1020.031\9990
                                                  -7-                      Case No. 3:19-cv-344
                       DEFENDANT FLYING FOOD GROUP, LLC’S NOTICE OF REMOVAL
          Case 3:19-cv-00344-RS Document 1 Filed 01/18/19 Page 8 of 11




 1 single claim is approximately $1,843,614 (In 2016: $15.97/hr * 8 hours * 30 days * 155
 2 employees = $595,084; In 2017: $17.28/hr * 8 hours * 30 days * 130 employees =
 3 $539,136; In 2018: $18.59/hr * 8 hours * 30 days *159 employees = $709,394).
 4
 5            Plaintiffs also contend that the putative class is entitled to penalties for inaccurate
 6 wage statements in the form of “$50.00 for the initial pay period in which the violation
 7 occurred and $100.00 for each violation in subsequent pay periods, pursuant to Labor
 8 Code § 226(e), up to the statutory maximum amount of $4,000.00.” (Ex. A, Complaint
 9 at ¶ 59.) As Plaintiffs note, “[t]hese damages are difficult to estimate.” (Ex. A,
10 Complaint at ¶ 59.) However, even when using conservative assumptions to estimate
11 the amount in controversy for Plaintiffs’ Section 226 claim, Defendant approximates
12 the amount in controversy for this claim alone is nearly $1 million. See Behrazfar v.
13 Unisys Corp., 687 F. Supp. 2d 999, 1004 (C.D. Cal. 2009) (accepting estimate made “in
14 good faith” based on “relatively conservative” figures when evaluating a motion to
15 remand).
16
17            Here, while Defendant denies the factual allegations pertaining to Plaintiffs’
18 inaccurate wage statements claim, Defendant conservatively assumes that Plaintiffs
19 recover only $50.00 for each violation in every pay period (instead of $100.00), and
20 estimates that the average length of service for each employee in this class period is one
21 year (or 26 pay periods). Defendant estimates that there are approximately 427
22 employees currently employed at the SFO Facility, and that approximately 159 workers
23 were terminated in 2018. (Bland Decl. at ¶¶ 5-6.) Based on these conservative
24 assumptions, Defendant estimates the amount in controversy for this single claim is
25 $761,800 ($50.00/hr * 26 pay periods * 586 former and current employees).
26
27            Plaintiffs also seek penalties for missed meal periods and rest breaks, in the form
28 of “one additional hour of pay at the employee’s regular rate of compensation for each
     1020.031\9990
                                                    -8-                    Case No. 3:19-cv-344
                       DEFENDANT FLYING FOOD GROUP, LLC’S NOTICE OF REMOVAL
          Case 3:19-cv-00344-RS Document 1 Filed 01/18/19 Page 9 of 11




 1 workday that the meal or rest or recovery period is not provided.” Cal. Lab. Code §
 2 226.7(c). (See Ex. A, Complaint, Prayer for Relief at ¶ 4.) Again, while Defendant
 3 denies the factual allegations pertaining to Plaintiffs’ meal periods and rest breaks
 4 claims, Defendant estimates that there are approximately 427 employees currently
 5 employed at the SFO Facility, and that workers at the SFO Facility work, on average,
 6 111,020 shifts per year (427 employees * 5 shifts per week * 52 weeks per year).
 7 (Bland Decl. at ¶ 6.) Defendant therefore estimates that, in the last four years, workers
 8 at the SFO Facility have worked, on average, 444,080 shifts.               To maintain a
 9 conservative estimate, Defendant applies an average meal period and rest break
10 violation rate of 30%. See Oda v. Gucci Am., Inc., 2015 WL 93335, at *5 (C.D. Cal.
11 Jan. 7, 2015) (employer’s assumption of a 50 percent violation rate for missed meal and
12 rest breaks is reasonable). Defendant conservatively estimates that the amount in
13 controversy for this claim is $2,208,853 (444,080 shifts * $16.58/hr * 30% violation
14 rate).
15
16            The total amount in controversy for these three claims alone equals $4,814,267.
17 Plaintiffs also seek to recover statutory attorneys’ fees, which also must be included in
18 calculating the amount in controversy. In the Ninth Circuit, “a court must include
19 future attorneys’ fees recoverable by statute or contract when assessing whether the
20 amount-in-controversy requirement is met.” Fritsch v. Swift Transportation Co. of
21 Arizona, LLC, 899 F.3d 785, 794 (9th Cir. 2018). “Because the law entitles [plaintiff]
22 to an award of attorneys’ fees if he is successful, such future attorneys’ fees are at stake
23 in the litigation, and must be included in the amount in controversy.” Id. See Paul,
24 Johnson, Alston & Hunt v. Graulty, 886 F. 2d 268, 273 (9th Cir. 1989) (25% of the
25 gross fund is a proper benchmark for awarding attorney’s fees in class actions). 25% of
26 the amount in controversy estimated for these two claims is approximately $1,203,567.
27
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     1020.031\9990
                                                -9-                       Case No. 3:19-cv-344
                      DEFENDANT FLYING FOOD GROUP, LLC’S NOTICE OF REMOVAL
          Case 3:19-cv-00344-RS Document 1 Filed 01/18/19 Page 10 of 11




 1            Plaintiffs further seek injunctive relief and penalties for six additional causes of
 2 action, including but not limited to relief for unpaid wages and unpaid overtime
 3 compensation. The cost of compliance with an injunction must also be included in the
 4 amount in controversy calculation, which further increases Defendant’s estimate. Id. at
 5 793.
 6
 7            Because the amount in controversy for just three of the ten claims raised by
 8 Plaintiffs exceeds $5,000,000, and any estimate of damages for Plaintiff’s remaining
 9 claims, costs of compliance with an injunction, and attorney’s fees will serve only to
10 increase the amount in controversy, the amount in controversy in this Action exceeds
11 $5,000,000 and therefore meets the jurisdictional threshold under CAFA.
12
13            C.     THERE IS MINIMAL DIVERSITY
14            When a class action is removed under CAFA, the district court can exercise
15 original jurisdiction over the action when “any member of a class of plaintiffs is a
16 citizen of a State different from any defendant[.]” 28 U.S.C. § 1332(5)(B).
17
18            Plaintiffs Elias Yamido and Thelma Yamido are current employees who work at
19 Defendant’s SFO Facility in Burlingame, California, and Plaintiff Mark Sibayan was an
20 employee who worked at Defendant’s SFO Facility. (Ex. A, Complaint at ¶¶ 6, 22, 23,
21 25, 27.) On information and belief, each Plaintiff is a citizen of California.
22
23            Defendant is a limited liability company organized in Delaware with its principal
24 place of business in Illinois. (Ex. A, Complaint at ¶ 7; Bland Decl. at ¶ 3.) Flying Food
25 Fare, Inc., an Illinois corporation with its principal place of business in Illinois, is the
26 sole member of Defendant Flying Food Group, LLC. (Bland Decl. at ¶ 2.) For
27 purposes of diversity jurisdiction, “an LLC is a citizen of every state of which its
28 owners/members are citizens.” Johnson v. Columbia Properties Anchorage, LP, 437 F.
     1020.031\9990
                                                  -10-                     Case No. 3:19-cv-344
                       DEFENDANT FLYING FOOD GROUP, LLC’S NOTICE OF REMOVAL
          Case 3:19-cv-00344-RS Document 1 Filed 01/18/19 Page 11 of 11




 1 3d 894, 899 (9th Cir. 2006). The sole member of Flying Food Group, LLC is a citizen
 2 of Illinois.
 3
 4            Because at least one Plaintiff is a citizen of California, Defendant’s sole LLC
 5 member is not a citizen of California, and no Plaintiff is a citizen of the same state as an
 6 LLC member of Defendant, minimal diversity exists under CAFA.
 7
 8 V.         CONCLUSION
 9            This Action involves an amount in controversy exceeding $5,000,000, involves a
10 putative class consisting of more than 100 members, and is between citizens of different
11 states. Because Defendant timely filed this Notice of Removal and this putative class
12 action meets the jurisdictional prerequisites under CAFA, removal is proper.
13
14 Dated: January 18, 2019                      John A. Conkle
                                                Amanda R. Washton
15
                                                Desiree J. Ho, members of
16                                              CONKLE, KREMER & ENGEL
                                                Professional Law Corporation
17
18
19
                                           By: /s/ John A. Conkle
20                                             John A. Conkle
                                               Attorneys for Defendant Flying Food Group,
21
                                               LLC
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     1020.031\9990
                                                -11-                      Case No. 3:19-cv-344
                      DEFENDANT FLYING FOOD GROUP, LLC’S NOTICE OF REMOVAL
